             Case 1:20-cv-00929-RDB Document 63 Filed 02/14/22 Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND


 LEADERS OF A BEAUTIFUL STRUGGLE
 et al.,

                   Plaintiffs,
                                                                   No. 20-cv-929-RDB
         v.

 BALTIMORE POLICE DEPARTMENT
 et al.,

                   Defendants.


                       JOINT MOTION FOR ENTRY OF AGREED ORDERS
                             OF EXPUNGEMENT AND DISMISSAL

        Plaintiffs Leaders of a Beautiful Struggle, Erricka Bridgeford, and Kevin James

(“Plaintiffs”), and Defendants Baltimore Police Department and Baltimore Police Commissioner

Michael S. Harrison in his official capacity (“Defendants”), hereby jointly move this Court to enter

the attached Order for Expungement of Records, and Agreed Order of Dismissal (the “Orders”). In

support of this Motion, the parties state the following:

        1.       On January 5, 2022, Plaintiffs entered into a Settlement Agreement with Defendants

(the “Settlement Agreement”). The Settlement Agreement with signature pages and exhibits is

attached hereto.

        2.       The Settlement Agreement has been approved by all of the necessary parties.

        3.       The Settlement Agreement explicitly contemplates the entry of the requested Orders

in ¶¶ 5 and 10, and the conditions precedent to this request have been satisfied.

        Accordingly, for all the foregoing reasons, the parties hereby respectfully request that this

Court grant this Motion and enter the Order of Expungement and Agreed Order of Dismissal.
          Case 1:20-cv-00929-RDB Document 63 Filed 02/14/22 Page 2 of 2




February 11, 2022                           Respectfully submitted,

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                                            (Signed by David Rocah with permission of Elisabeth S. Walden)
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